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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

C. TATE GEORGE,
HONORABLE ANNE E. THOMPSON

Petitioner,
v. Civil Action
No. 17-2641 (AET)
UNITED STATES OF AMERICA,
Respondent. ORDER

 

 

This matter having come before the Court on Petitioner’s motion requesting permission
to “reply to the government’s answer” (ECF No. 57); the Court having considered the
submissions of the Petitioner, Fed. R. Civ. 78(b); the Court having received Petitioner’s
opposition papers (ECF No. 61); and for the reasons explained in the Opinion of today’s date;

and for good cause shown;

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iT is this_AY day of Mn 2019, hereby

ORDERED that Petitioner’s motion requesting permission to “reply to the government’s
answer” (ECF No. 57) is dismissed as moot; and it is finally
ORDERED that the Clerk shall serve a copy of this Order and Opinion on Petitioner by

regular mail.

ANNE E. THOMPSON
US. District Judge
